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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW JERSEY


 UNITED STATES OF AMERICA                         Criminal No. 22-35 (RBK)


                      v.

 KAIVAL PATEL                                     ORDER FOR CONTINUANCE



         It is the findings of this Court that this matter should be continued:

         1.     The defendant has consented to this continuance.

         2.     Trial in this matter has been set to commence on November 27, 2023.

         3.     This case is an unusual and complex case within the meaning of the

Speedy Trial Act, 18 U.S.C. § 3161(h)(7)(B)(ii) and (iii), in light of the number of

charges and the nature of the prosecution. More time is needed to adequately prepare

for trial.

         4.     The discovery in the case is voluminous and additional time is necessary

to ensure that, taking into account the exercise of diligence, counsel have sufficient

time to review and inspect discovery in advance of trial.

         5.     As a result of the foregoing, pursuant to 18 U.S.C. § 3161(h)(7)(A) and

(h)(7)(B)(ii), (iii), and (iv), the ends of justice served by the granting of this

continuance outweigh the best interests of the public and the defendant in a speedy

trial.




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                                  23d day of _____________,
      IT IS, therefore, on this _______       October       2023,

      (1)    ORDERED that this action be, and hereby is, continued until

November 27, 2023; and it is further


      (2)     ORDERED that the period from the date of this order through

November 27, 2023 be and it hereby is excluded in computing time under the Speedy

Trial Act of 1974, 18 U.S.C. § 3161 et seq.




                                        __________________________________________
                                        HONORABLE ROBERT B. KUGLER
                                        United States District Judge




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